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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

CASA, INC. et al.,
Plaintiff,

= Case No. 8:25-cv-00201-DLB

DONALD J. TRUMP et al.,
Defendant. *

1, Sara Gross, am a member in good standing of the bar of this Court. | am moving the
admission of Katherine Courtney to appear pro hac vice in this case as counsel for amici

curiae local governments and local government officials.

We certify that:

|. The proposed admittee is not a member of the Maryland bar and does not
maintain any law office in Maryland

2. The proposed admittee is a member in good standing of the bars of the
following State Courts and/or United States Courts:

State Court & Date of Admission U.S. Court & Date of Admission
“alifornia - 12/7/2021
Columbia - 2/5/2024

District of Columbia - 6/17/2022

3. During the twelve months immediately preceding this motion, the proposed
admittee has been admitted pro hac vice in this Court 0 time(s).

4. The proposed admittee has never been disbarred, suspended, or denied admission to
practice law in any jurisdiction.

5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of
Professional Conduct, the Federal Rules of Civil Procedure, the Federal Rules of
Evidence, the Federal Rules of Appellate Procedure, and the Local Rules of this
Court, and understands she shall be subject to the disciplinary jurisdiction of this

Court.
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6. The proposed admittee understands admission pro hac vice is for this case only
and does not constitute formal admission to the bar of this Court.

7. The undersigned movant is also a member of the bar of this Court in good standing,
and will serve as co- counsel in these proceedings.

8. The $100.00 fee for admission pro hac vice accompanies this motion.

9. We hereby certify under penalties of perjury that the foregoing statements are true

and correct.

MOVANT

/s/ Sara Gross

Signature

Sara Gross (0412140305)

Printed name and bar number

Baltimore City Department of Law

Office name

100 N. Holliday Street, Baltimore, MD 21202

Address

410-396-3947

Telephone number

Fax Number

ross 7 balti SOV

Email Address

PROPOSED ADMITTEE

hAe-—Cr— ilarfas

Signature

Katherine Courtney

Printed name

Public Rights Project

Office name

490 43rd Street, Unit 115, Oakland, CA 94609

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(510) 214-6960

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